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 6
                      IN THE UNITED STATES DISTRICT COURT
 7
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,          )         2:06-cr-441-GEB-EFB
                                        )
10                       Plaintiff,     )         ORDER REQUIRING
                                        )         DEFENDANT HAYLES AND HIS
11        v.                            )         COUNSEL TO EXPLAIN NON-
                                        )         APPEARANCE AT STATUS
12   DONALD HAYLES, a.k.a. DONALD       )         HEARINGS AND DEFENDANT’S
     FOUCHE, “D”,                       )         COUNSEL TO EXPLAIN WHETHER
13                                      )         HE IS AUTHORIZED TO
                         Defendant.     )         PRACTICE IN DISTRICT
14   ___________________________________)
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                The status hearing scheduled in this action for
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     commencement at 9:00 a.m. on March 7, 2008, was not attended by
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     either Adam D. Fein, counsel for Defendant Donald Hayles, or
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     Defendant Hayles.    Therefore, a further status hearing is scheduled
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     to commence at 9:00 a.m. on March 14, 2008.        The March 7, 2008
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     status hearing was scheduled in court on February 29, 2008, and
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     also by a Minute Order filed February 29, 2008, since neither
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     Defendant Hayles nor his counsel appeared at the scheduled status
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     hearing on February 29, 2008.
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                Further, it is unclear whether Defendant Hayles’s
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     counsel should be authorized to represent Defendant Hayles since
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     it does not appear that a pro hac vice application has been
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     submitted in connection with his representation of Defendant
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     Hayles.   L.R. 83-180; see United States v. Ries, 100 F.3d 1469,

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 1   1471 (9th Cir. 1996) (indicating that an out of state counsel is
 2   required to seek admission to practice in district court through a
 3   pro hac vice application).        Therefore, Defendant Hayles’s
 4   attorney, Adam D. Fein, shall explain why neither he nor Defendant
 5   Hayles appeared at the status conferences scheduled for February
 6   29 and March 7, 2008, and attorney Fein shall explain his apparent
 7   failure to submit a pro hac vice application in a filing due on or
 8   before March 13, 2008.
 9                IT IS SO ORDERED.
10   Dated:     March 7, 2008
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12                                      GARLAND E. BURRELL, JR.
                                        United States District Judge
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